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Case: 1:14-cv-01437 Document #: 339-22 Filed: 02/07/18 Page 3 of 20 PageID #:4973
Case: 1:14-cv-01437 Document #: 339-22 Filed: 02/07/18 Page 4 of 20 PageID #:4974
Case: 1:14-cv-01437 Document #: 339-22 Filed: 02/07/18 Page 5 of 20 PageID #:4975
Case: 1:14-cv-01437 Document #: 339-22 Filed: 02/07/18 Page 6 of 20 PageID #:4976
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Case: 1:14-cv-01437 Document #: 339-22 Filed: 02/07/18 Page 8 of 20 PageID #:4978
Case: 1:14-cv-01437 Document #: 339-22 Filed: 02/07/18 Page 9 of 20 PageID #:4979
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